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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

GARRETT SITTS, et al.,

        PLAINTIFFS,
                                                  Civil Action No. 2:16-cv-00287-cr
v.

DAIRY FARMERS OF AMERICA, INC.,
and DAIRY MARKETING SERVICES, LLC,

        DEFENDANTS.


      LIST OF TWENTY PLAINTIFFS FOR TRIAL TO BEGIN ON JULY 1, 2020

       Pursuant to the Court’s May 1, 2020 Order [ECF 191], Plaintiffs hereby designate the

following twenty Plaintiffs whose claims will be included in the first trial scheduled to begin on

July 1, 2020:

       1.       Victor Barrick, Barrick Dairy LLC

       2.       Logan Bower, Pleasant View Farms

       3.       Mark & Dwight Brandenburg, Char Mar Dairy Farm, Inc.

       4.       Thomas Clark

       5.       Gerry Delong, Hope Valley Farms

       6.       Mark & Barbara Dulkis, Dulkis Farms

       7.       Glen Eaves, Oak Bluff Farms LLC

       8.       Richard Gantner

       9.       Stefan & Cindy Gieger, Gieger farm

       10.      Scott & Gail Hymers, Sco Gail Farm

       11.      Randy & Lynette Inman, Marbil Farms

       12.      John & Frank Lamport, Lamport Farms
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     13.    Russell & Diane Maxwell

     14.    Walt Moore, Walmoore Holsteins, Inc.

     15.    Michael Nissley

     16.    Calvin Roes, Lloyd Roes & Sons LLC

     17.    Bradley Rohrer

     18.    Donald T. & Donald M. Smith

     19.    Judy & Ken Tompkins

     20.    Mark & Eric Visser, Visser Brothers Farm

                                          Respectfully Submitted,

                                          PLAINTIFFS,

                                          By their attorneys,

                                           /s/ Dana A. Zakarian
                                          Joel G. Beckman
                                          Michael G. Paris
                                          Dana A. Zakarian
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Dated: May 21, 2020                       Admitted Pro Hac Vice

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                                 CERTIFICATE OF SERVICE

        I, Dana A. Zakarian, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on this 21st
day of May 2020.

                                                /s/ Dana A. Zakarian
                                               Dana A. Zakarian




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